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                                                                     USDCSDNY
                    UNITED STATES DISTRICT COURT FORT                JOOCUMENT
                       SOUTHERN DISTRICT OF NEW YORK                  ELECTRONICALLY FILED
                                                                      i>UC #:----fnrt-ftf-
                                                                      DATE fll ED~
UNITED STATES

V.                                                                  19 CR. 328 (JSR)

MARIO ESTRADA AMILCAR ORELLANA

               Defendant

                                         ORDER


        Upon consideration of the motion of Robert Feitel, Esquire, for leave to appear

pro hac vice as retained counsel for defendant MARIO AMILCAR ESTRADA

ORELLANA, and the entire record herein, it is this   3 0 ~ay of _,_~~c._..__ __
201f,

        ORDERED, that the motion is granted.




                                      JEDi!tJj/dt
                                      UNITED STATES DISTIRCT JUDGE
       Case 1:19-cr-00328-JSR Document 11 Filed 05/29/19 Page 1of2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------x
UNITED STATES OF AMERICA                                              NOTICE OF MOTION FOR
                                                                      LEA VE TO APPEAR
                                                                      PROHACVICE
v.
                                                                      19 CR. 328 (JSR)
MARIO AMILACAR ESTRADA ORELLANA

                 Defendant
---------------------------------------------------------------x
        PLEASE TAKE NOTICE that upon annexed Affidavit of Robert Feitel, Esquire and

the accompanying Certificate of Good Standing, the undersigned moves this Court before the

Honorable Jed S. Rakoff at the United States Courthouse for the Southern District of New

York, Central Islip, pursuant to Rule 1.3 (c) of the Local Rules of the United States District

Courts for Southern District of New York on a date and time set by this Honorable Court for

an Order allowing admission of Robert Feitel, a partner of the Law Office of Robert Feitel,

P.L.L.C., and a member in good standing of the Bar of the District of Columbia, as attorney

pro hac vice to argue or try this case in whole or in part as counsel. Contemporaneous with

the filing of this motion, the undersigned will make payment of the fee associated with the

entry of an appearance pro hac vice. A proposed Order for the Court's consideration is also

being filed.

                                                              Respectfully submitted,


                                                               _ _ _Isl _ _ _ _ _ __
                                                               Robert Feitel, Esq.
                                                               1300 Pennsylvania A venue, N. W.
                                                               Washington, DC 20008
                                                               #190-515
                                                               (202) 450-6133 (office)
                                                               (202) 255-6637 (cellular)
                                                               (202) 450-6134 (fax)
                                                               RFCC4RFeitelLaw.com
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                           CERTIFICATE OF SERVICE

A copy of the foregoing Motion For Leave To Appear Pro Hae Vice and supporting
documents were filed via ECF this 29th day of May 2018 to Assistant United States
Attorneys Matthew LaRoche and Jason Richman, U.S. Attorneys Office for the Southern
District of New York.
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                           UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF NEW YORK



    UNITED STATES

    V.                                                               19-CR-328 (JSR)

    MARION AMILCAR ESTRADA ORELLANA

                     Defendant


    State of Washington              )
                                     )                ss:
    District of Columbia             )


    I, Robert Feitel, being duly sworn, hereby deposes and says as follows

         1. I am submitting this affidavit in support of my motion for admission to practice pro

            hac vice in the above captioned matter.

         2. I am a partner in the law firm of the Law Office of Robert Feitel, P.L.L.C., 1300

            Pennsylvania Avenue, NW. Washington, D.C. 20008.

         3. I have a member of the Bar of the District of Columbia since 1982. There are not

            now, nor have there ever been, disciplinary proceedings pending against me in any

            State or Federal court I am a member of the U.S. District Court for the District of

             Columbia and have appeared pro hac vice m one other matter before this Court.

         4. The undersigned has printed out and read the entirety of the local rules of this Court,

             as well as the Individual Rules of Practice of the Honorable Jeb S Rak.off and

             solemnly swears and pr.omises as an officer of the court to abide by them and all other

             rules which govern the conduct of attorneys.

         5. The filing of this pleading will be accompanied by an electronic payment of

             admimstrat1ve costs of the Clerk's Office.




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   6. The undersigned will also be filing a Certificate of Good Standing issued by the Bar

      of the District of Columbia within the last thirty days.

   7. Wherefore your affiant respectfully submits that she be permitted to appear as

      counsel and advocate pro hac vice in this case.



May 28, 2019




                                              Robert Feitel, Esquire
                                              1300 Connecticut Avenue, N.W.
                                              #190-515
                                              Washington, DC 20009
                                              (202) 450-6133 (office)
                                              (202) 255-6637 (cellular)
                                              RF@RFeitelLaw com
    Ofi behalf of JULIO A. CA5 !JLLO, Cierk oi the District of Columbia Court of Appeals,
                     the District of Columbia Bar does hereby certify that




    was duly qualified and admitted on December 13, 1982 as an attorney and counselor
    entitled to practice before this Court; and is, on the date indicated below, an Active
                            member in good standing of this Bar.




                                                                       In Testimony W'hereof,
                                                                   I have hereunto subscribed my
                                                                   name and affixed the seal of this
                                                                   Court at the City of Washington,
                                                                       D.C., on ,May 28, 2019.



                                                                   Gk            a.~
                                                                   ~ ~U~IO A. CASTILLO
                                                                          Clerk of the Court




                                                                  '~"""' ~Du;trtct of Cnlumb1a Bar '.\Icmbership




For questions or concetns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                   memberservices@dcbar.org.
